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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION

SYMBOLOGY INNOVATIONS, LLC,

      Plaintiff,                                         CASE NO. 2:17-cv-0030

v.                                                          PATENT CASE

                                                      JURY TRIAL DEMANDED
TEN: THE ENTHUSIAST NETWORK
MAGAZINES, LLC,

      Defendant.


       DEFENDANT TEN: THE ENTHUSIAST NETWORK MAGAZINES, LLC’S
         ANSWER, AFFIRMATIVE DEFENSES, AND COUNTERCLAIMS
              TO PLAINTIFF’S FIRST AMENDED COMPLAINT

      Defendant TEN: The Enthusiast Network Magazines, LLC (“TEN”) files this

Answer and Counterclaims to Plaintiff Symbology Innovations, LLC’s (“Plaintiff”) First

Amended Complaint for Infringement of Patent (“First Amended Complaint”). TEN

denies the allegations and characterizations in Plaintiff’s First Amended Complaint

unless expressly admitted in the following paragraphs.

                             NATURE OF THE ACTION

      1.     TEN admits that the First Amended Complaint purports to set forth an

action for patent infringement under the Patent Laws of the United States, 35 U.S.C. § 1,

et seq., and that the Plaintiff purports to seek injunctive relief as well as damages,

attorney’s fees, and costs. TEN further admits that a purported copy of U.S. Patent No.

8,424,752 (the “’752 Patent”) is attached to the First Amended Complaint as Exhibit A;

U.S. Patent No. 8,651,369 (the “’369 Patent”) is attached to the First Amended Complaint


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as Exhibit B; U.S. Patent No. 8,936,190 (the “’190 Patent”) is attached to the First Amended

Complaint as Exhibit C; and U.S. Patent No. 7,992,773 (the “’773 Patent”) is attached to

the First Amended Complaint as Exhibit D (collectively, the “Patents-in-Suit”). TEN

denies it has committed or is committing acts of infringement and/or “profiting, in an

illegal and unauthorized manner and without authorization and/or of the consent from

Symbology Innovations” such that Plaintiff is entitled to any relief from TEN. TEN denies

any remaining allegations in Paragraph 1 of the First Amended Complaint.

                                      THE PARTIES

       2.     TEN is without knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 2 of the First Amended Complaint and, on that

basis, denies all such allegations.

       3.     TEN admits the allegations in Paragraph 3 of the First Amended Complaint.

                              JURISDICTION AND VENUE

       4.     TEN admits that this Court has subject matter jurisdiction over this action

pursuant to 28 U.S.C. §§ 1331 and 1338(a).

       5.     TEN does not contest whether personal jurisdiction over it properly lies in

this District in this case, or that it conducts business in the State of Texas. TEN denies it

has committed or is committing acts of infringement within the State of Texas or in this

District and, on that basis, denies the remaining allegations of Paragraph 5 of the First

Amended Complaint.

       6.     TEN does not contest whether personal jurisdiction over it properly lies in

this District in this case, or that it conducts business in the State of Texas. TEN denies it

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has committed or is committing acts of infringement within Texas or in this District and,

on that basis, denies the remaining allegations of Paragraph 6 of the First Amended

Complaint.

       7.     TEN admits that it conducts business in the State of Texas and in this

District. TEN denies it has committed or is committing acts of infringement within Texas

or in this District and, on that basis, denies the remaining allegations of Paragraph 7 of

the First Amended Complaint.

       8.     TEN denies it has committed or is committing acts of infringement within

Texas or in this District and, on that basis, denies the allegations of Paragraph 8 of the

First Amended Complaint.

       9.     TEN admits that venue may be proper but denies that venue is convenient

in this judicial district as to TEN.

                                FACTUAL ALLEGATIONS

                                       ‘752 Patent

       10.    TEN admits that the purported copy of the ‘752 Patent that is attached to

the First Amended Complaint as Exhibit A indicates that it issued on April 23, 2013 and

is entitled “System and Method for Presenting Information About an Object on a Portable

Electronic Device.” TEN is without knowledge or information sufficient to form a belief

as to the truth of the remaining allegations in Paragraph 10 of the First Amended

Complaint and, on that basis, denies all such allegations.

       11.    TEN is without knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 11 of the First Amended Complaint and, on that

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basis, denies all such allegations.

       12.    TEN admits that the purported copy of the ‘752 Patent that is attached to

the First Amended Complaint as Exhibit A appears to contain three independent claims

and twenty-five dependent claims. TEN denies it has committed or is committing acts of

infringement and, on that basis, denies the remaining allegations of Paragraph 12 of the

First Amended Complaint.

       13.    TEN denies that the claims of the ‘752 Patent constitute inventions or patent

subject matter. TEN is without knowledge or information sufficient to form a belief as to

the truth of the remaining allegations in Paragraph 13 of the First Amended Complaint

and, on that basis, denies all such allegations.

                                         ‘369 Patent

       14.    TEN admits that the purported copy of the ‘369 Patent that is attached to

the First Amended Complaint as Exhibit B indicates that it issued on February 18, 2014,

and is entitled “System and Method for Presenting Information About an Object on a

Portable Electronic Device.” TEN is without knowledge or information sufficient to form

a belief as to the truth of the remaining allegations in Paragraph 14 of the First Amended

Complaint and, on that basis, denies all such allegations.

       15.    TEN is without knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 15 of the First Amended Complaint and, on that

basis, denies all such allegations.

       16.    TEN admits that the purported copy of the ‘369 Patent that is attached to

the First Amended Complaint as Exhibit B appears to contain three independent claims

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and twenty-five dependent claims. TEN denies it has committed or is committing acts of

infringement and, on that basis, denies the remaining allegations of Paragraph 16 of the

First Amended Complaint.

       17.    TEN denies that the claims of the ‘369 Patent constitute inventions or patent

subject matter. TEN is without knowledge or information sufficient to form a belief as to

the truth of the remaining allegations in Paragraph 17 of the First Amended Complaint

and, on that basis, denies all such allegations.

                                         ‘190 Patent

       18.    TEN admits that the purported copy of the ‘190 Patent that is attached to

the First Amended Complaint as Exhibit C indicates that it issued on January 20, 2015,

and is entitled “System and Method for Presenting Information About an Object on a

Portable Electronic Device.” TEN is without knowledge or information sufficient to form

a belief as to the truth of the remaining allegations in Paragraph 18 of the First Amended

Complaint and, on that basis, denies all such allegations.

       19.    TEN is without knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 19 of the First Amended Complaint and, on that

basis, denies all such allegations.

       20.    TEN admits that the purported copy of the ‘190 Patent that is attached to

the First Amended Complaint as Exhibit C appears to contain three independent claims

and seventeen dependent claims. TEN denies it has committed or is committing acts of

infringement and, on that basis, denies the remaining allegations of Paragraph 20 of the

First Amended Complaint.

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       21.    TEN denies that the claims of the ‘190 Patent constitute inventions or patent

subject matter. TEN is without knowledge or information sufficient to form a belief as to

the truth of the remaining allegations in Paragraph 21 of the First Amended Complaint

and, on that basis, denies all such allegations.

                                         ’773 Patent

       22.    TEN admits that the purported copy of the ‘773 Patent that is attached to

the First Amended Complaint as Exhibit D indicates that it issued on August 9, 2011, and

is entitled “System and Method for Presenting Information About an Object on a Portable

Electronic Device.” TEN is without knowledge or information sufficient to form a belief

as to the truth of the remaining allegations in Paragraph 22 of the First Amended

Complaint and, on that basis, denies all such allegations.

       23.    TEN is without knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 23 of the First Amended Complaint and, on that

basis, denies all such allegations.

       24.    TEN admits that the purported copy of the ‘773 Patent that is attached to

the First Amended Complaint as Exhibit D appears to contain three independent claims

and fifteen dependent claims. TEN denies it has committed or is committing acts of

infringement and, on that basis, denies the remaining allegations of Paragraph 24 of the

First Amended Complaint.

       25.    TEN denies that the claims of the ‘773 Patent constitute inventions or patent

subject matter. TEN is without knowledge or information sufficient to form a belief as to

the truth of the remaining allegations in Paragraph 25 of the First Amended Complaint

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and, on that basis, denies all such allegations.

                                  COUNT I
                 [ALLEGED] INFRINGEMENT OF THE ‘752 PATENT

       26.    TEN incorporates by reference each of its responses set forth in Paragraphs

1-25 above as if fully set forth herein.

       27.    TEN denies the allegations in Paragraph 27 of the First Amended

Complaint.

       28.    TEN admits that it has had knowledge of the ‘752 Patent since the time it

was served with the original Complaint. TEN denies the remaining allegations in

Paragraph 28 of the First Amended Complaint.

       29.    TEN denies the allegations in Paragraph 29 of the First Amended

Complaint.

       30.    TEN admits that a Quick Response (QR) code has appeared on some

promotional offers for TEN’s products and services. TEN denies that it has committed or

is committing acts of infringement in this district or elsewhere and, on that basis, denies

any remaining allegations in Paragraph 30 of the First Amended Complaint.

       31.    TEN incorporates its admissions, averments, and denials in Paragraph 30

above as if set forth fully herein. TEN is without knowledge or information sufficient to

form a belief as to the truth of the remaining allegations in Paragraph 31 of the First

Amended Complaint and, on that basis, denies all such allegations.

       32.    TEN incorporates its admissions, averments, and denials in Paragraph 30

above as if set forth fully herein. TEN is without knowledge or information sufficient to



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form a belief as to the truth of the remaining allegations in Paragraph 32 of the First

Amended Complaint and, on that basis, denies all such allegations.

       33.    TEN incorporates its admissions, averments, and denials in Paragraph 30

above as if set forth fully herein. TEN is without knowledge or information sufficient to

form a belief as to the truth of the remaining allegations in Paragraph 33 of the First

Amended Complaint and, on that basis, denies all such allegations.

       34.    TEN incorporates its admissions, averments, and denials in Paragraph 30

above as if set forth fully herein. TEN admits that product and service information is

available on its websites and can be viewed on a portable electronic device. TEN is

without knowledge or information sufficient to form a belief as to the truth of the

remaining allegations in Paragraph 34 of the First Amended Complaint and, on that basis,

denies all such allegations.

       35.    TEN denies the allegations in Paragraph 35 of the First Amended

Complaint.

       36.    TEN denies the allegations in Paragraph 36 of the First Amended

Complaint.

       37.    TEN denies the allegations in Paragraph 37 of the First Amended

Complaint.

       38.    TEN denies the allegations in Paragraph 38 of the First Amended

Complaint.

       39.    TEN denies the allegations in Paragraph 39 of the First Amended

Complaint.

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                                 COUNT II
                 [ALLEGED] INFRINGEMENT OF THE ‘369 PATENT

       40.    TEN incorporates by reference each of its responses set forth in Paragraphs

1-39 above as if fully set forth herein.

       41.    TEN denies the allegations in Paragraph 41 of the First Amended

Complaint.

       42.    TEN admits that it has had knowledge of the ‘369 Patent since the time it

was served with the original Complaint. TEN denies the remaining allegations in

Paragraph 42 of the First Amended Complaint.

       43.    TEN denies the allegations in Paragraph 43 of the First Amended

Complaint.

       44.    TEN admits that a Quick Response (QR) code has appeared on some

promotional offers for TEN’s products and services. TEN denies that it has committed or

is committing acts of infringement in this district or elsewhere and, on that basis, denies

any remaining allegations in Paragraph 44 of the First Amended Complaint.

       45.    TEN incorporates its admissions, averments, and denials in Paragraph 44

above as if set forth fully herein. TEN is without knowledge or information sufficient to

form a belief as to the truth of the remaining allegations in Paragraph 45 of the First

Amended Complaint and, on that basis, denies all such allegations.

       46.    TEN incorporates its admissions, averments, and denials in Paragraph 44

above as if set forth fully herein. TEN is without knowledge or information sufficient to

form a belief as to the truth of the remaining allegations in Paragraph 46 of the First



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Amended Complaint and, on that basis, denies all such allegations.

       47.    TEN incorporates its admissions, averments, and denials in Paragraph 44

above as if set forth fully herein. TEN is without knowledge or information sufficient to

form a belief as to the truth of the remaining allegations in Paragraph 47 of the First

Amended Complaint and, on that basis, denies all such allegations.

       48.    TEN incorporates its admissions, averments, and denials in Paragraph 44

above as if set forth fully herein. TEN admits that product and service information is

available on its websites and can be viewed on a portable electronic device. TEN is

without knowledge or information sufficient to form a belief as to the truth of the

remaining allegations in Paragraph 48 of the First Amended Complaint and, on that basis,

denies all such allegations.

       49.    TEN denies the allegations in Paragraph 49 of the First Amended

Complaint.

       50.    TEN denies the allegations in Paragraph 50 of the First Amended

Complaint.

       51.    TEN denies the allegations in Paragraph 51 of the First Amended

Complaint.

       52.    TEN denies the allegations in Paragraph 52 of the First Amended

Complaint.

       53.    TEN denies the allegations in Paragraph 53 of the First Amended

Complaint.




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                                 COUNT III
                 [ALLEGED] INFRINGEMENT OF THE ‘190 PATENT

       54.    TEN incorporates by reference each of its responses set forth in Paragraphs

1-53 above as if fully set forth herein.

       55.    TEN denies the allegations in Paragraph 55 of the First Amended

Complaint.

       56.    TEN admits that it has had knowledge of the ‘190 Patent since the time it

was served with the original Complaint. TEN denies the remaining allegations in

Paragraph 56 of the First Amended Complaint.

       57.    TEN denies the allegations in Paragraph 57 of the First Amended

Complaint.

       58.    TEN admits that a Quick Response (QR) code has appeared on some

promotional offers for TEN’s products and services. TEN denies that it has committed or

is committing acts of infringement in this district or elsewhere and, on that basis, denies

any remaining allegations in Paragraph 58 of the First Amended Complaint.

       59.    TEN incorporates its admissions, averments, and denials in Paragraph 58

above as if set forth fully herein. TEN is without knowledge or information sufficient to

form a belief as to the truth of the remaining allegations in Paragraph 59 of the First

Amended Complaint and, on that basis, denies all such allegations.

       60.    TEN incorporates its admissions, averments, and denials in Paragraph 58

above as if set forth fully herein. TEN is without knowledge or information sufficient to

form a belief as to the truth of the remaining allegations in Paragraph 60 of the First


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Amended Complaint and, on that basis, denies all such allegations.

       61.    TEN incorporates its admissions, averments, and denials in Paragraph 58

above as if set forth fully herein. TEN is without knowledge or information sufficient to

form a belief as to the truth of the remaining allegations in Paragraph 61 of the First

Amended Complaint and, on that basis, denies all such allegations.

       62.    TEN incorporates its admissions, averments, and denials in Paragraph 58

above as if set forth fully herein. TEN admits that product and service information is

available on its websites and can be viewed on a portable electronic device. TEN is

without knowledge or information sufficient to form a belief as to the truth of the

remaining allegations in Paragraph 62 of the First Amended Complaint and, on that basis,

denies all such allegations.

       63.    TEN denies the allegations in Paragraph 63 of the First Amended

Complaint.

       64.    TEN denies the allegations in Paragraph 64 of the First Amended

Complaint.

       65.    TEN denies the allegations in Paragraph 65 of the First Amended

Complaint.

       66.    TEN denies the allegations in Paragraph 66 of the First Amended

Complaint.

       67.    TEN denies the allegations in Paragraph 67 of the First Amended

Complaint.




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                                 COUNT IV
                 [ALLEGED] INFRINGEMENT OF THE ‘773 PATENT

       68.    TEN incorporates by reference each of its responses set forth in Paragraphs

1-67 above as if fully set forth herein.

       69.    TEN denies the allegations in Paragraph 69 of the First Amended

Complaint.

       70.    TEN admits that it has had knowledge of the ‘773 Patent since the time it

was served with the original Complaint. TEN denies the remaining allegations in

Paragraph 70 of the First Amended Complaint.

       71.    TEN denies the allegations in Paragraph 71 of the First Amended

Complaint.

       72.    TEN admits that a Quick Response (QR) code has appeared on some

promotional offers for TEN’s products and services. TEN denies that it has committed or

is committing acts of infringement in this district or elsewhere and, on that basis, denies

any remaining allegations in Paragraph 72 of the First Amended Complaint.

       73.    TEN incorporates its admissions, averments, and denials in Paragraph 72

above as if set forth fully herein. TEN is without knowledge or information sufficient to

form a belief as to the truth of the remaining allegations in Paragraph 73 of the First

Amended Complaint and, on that basis, denies all such allegations.

       74.    TEN incorporates its admissions, averments, and denials in Paragraph 72

above as if set forth fully herein. TEN is without knowledge or information sufficient to

form a belief as to the truth of the remaining allegations in Paragraph 74 of the First


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Amended Complaint and, on that basis, denies all such allegations.

       75.    TEN incorporates its admissions, averments, and denials in Paragraph 72

above as if set forth fully herein. TEN is without knowledge or information sufficient to

form a belief as to the truth of the remaining allegations in Paragraph 75 of the First

Amended Complaint and, on that basis, denies all such allegations.

       76.    TEN incorporates its admissions, averments, and denials in Paragraph 72

above as if set forth fully herein. TEN admits that product and service information is

available on its websites and can be viewed on a portable electronic device. TEN is

without knowledge or information sufficient to form a belief as to the truth of the

remaining allegations in Paragraph 76 of the First Amended Complaint and, on that basis,

denies all such allegations.

       77.    TEN denies the allegations in Paragraph 77 of the First Amended

Complaint.

       78.    TEN denies the allegations in Paragraph 78 of the First Amended

Complaint.

       79.    TEN denies the allegations in Paragraph 79 of the First Amended

Complaint.

       80.    TEN denies the allegations in Paragraph 80 of the First Amended

Complaint.

       81.    TEN denies the allegations in Paragraph 81 of the First Amended

Complaint.




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                      [PLAINTIFF’S DEMAND FOR JURY TRIAL

        82.   TEN is not required to provide a response to Plaintiff’s request for a trial by

jury.

                                  PRAYER FOR RELIEF

        TEN denies the Plaintiff is entitled to any relief from TEN and denies all the

allegations contained in Paragraphs (a)-(f) of Plaintiff’s Prayer for Relief.

                               AFFIRMATIVE DEFENSES

        TEN’s Affirmative Defenses are listed below. TEN reserves the right to amend its

answer to add additional Affirmative Defenses consistent with the facts discovered in

this case.

                            FIRST AFFIRMATIVE DEFENSE

        TEN has not infringed and does not infringe, under any theory of infringement

(including directly (whether individually or jointly) or indirectly (whether contributorily

or by inducement)), any valid, enforceable claim of the ’752, ’369, ’190 and/or ‘773 Patents

(collectively, the “Asserted Patents”).

                          SECOND AFFIRMATIVE DEFENSE

        Each asserted claim of the Asserted Patents is invalid for failure to comply with

one or more of the requirements of the United States Code, Title 35, including without

limitation, 35 U.S.C. §§ 101, 102, 103, and 112, and the rules, regulations, and laws

pertaining thereto.

                           THIRD AFFIRMATIVE DEFENSE

        Plaintiff’s attempted enforcement of the Asserted Patents against TEN is barred by



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the doctrine of inequitable conduct.

                          FOURTH AFFIRMATIVE DEFENSE

       To the extent that Plaintiff and any predecessors in interest to any of the Asserted

Patents failed to properly mark any of their relevant products or materials as required by

35 U.S.C. § 287, or otherwise give proper notice that TEN’s actions allegedly infringe the

Asserted Patents, TEN is not liable to Plaintiff for the acts alleged to have been performed

before it received actual notice that it was allegedly infringing the Asserted Patents.

                           FIFTH AFFIRMATIVE DEFENSE

       To the extent that Plaintiff asserts that TEN indirectly infringes, either by

contributory infringement or inducement of infringement, TEN is not liable to Plaintiff

for the acts alleged to have been performed before TEN knew that its actions would cause

indirect infringement.

                           SIXTH AFFIRMATIVE DEFENSE

       Plaintiff’s attempted enforcement of the Asserted Patents against TEN is barred by

one or more of the equitable doctrines of laches, estoppel, acquiescence, waiver, and

unclean hands.

                         SEVENTH AFFIRMATIVE DEFENSE

       The claims of the Asserted Patents are not entitled to a scope sufficient to

encompass any system employed or process practiced by TEN.

                          EIGHTH AFFIRMATIVE DEFENSE

       Plaintiff’s First Amended Complaint fails to state a claim upon which relief can be

granted because, among other things, Plaintiff has not stated a plausible allegation that


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TEN makes, uses, or sells each claimed element of any asserted claim, or that TEN directs

or controls another entity to make, use, or sell any element that is not made, used, or sold

by TEN.

                             NINTH AFFIRMATIVE DEFENSE

       To the extent Plaintiff contends that it alleges a claim for indirect infringement

(whether by inducement or contributorily), Plaintiff has failed to state a claim upon which

relief can be granted.

                             TENTH AFFIRMATIVE DEFENSE

       Plaintiff’s First Amended Complaint fails to state a claim upon which relief can be

granted because the Asserted Patents do not claim patentable subject matter under 35

U.S.C. § 101.

                           ELEVENTH AFFIRMATIVE DEFENSE

       Plaintiff’s First Amended Complaint fails to state a claim upon which relief can be

granted because, among other things, Plaintiff has not stated a plausible allegation that

any system employed or process practiced by TEN: (1) captures a digital image; (2)

detects symbology associated with the digital image; (3) decodes the symbology to obtain

a decode string; (4) sends the decode string to a remote server for processing; or (5)

includes one or more visual detection systems that are configured to run in the

background and detect the symbology associated with the object as required by the

Asserted Patents.

                                 TEN’S COUNTERCLAIMS

       For      its   counterclaims   against   Plaintiff   Symbology   Innovations,     LLC


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(“Symbology”), Counterclaim Plaintiff TEN: The Enthusiast Network Magazines, LLC

(“TEN”), alleges as follows:

                                         PARTIES

       1.     Counterclaim Plaintiff TEN is a corporation organized and existing under

the laws of the State of Delaware, with offices located at 831 South Douglas Street, El

Segundo, California 90245.

       2.     Upon information and belief based solely on Paragraph 2 of the First

Amended Complaint as pled by Plaintiff, Counterclaim Defendant Symbology

Innovations, LLC, is a limited liability company organized and existing under the laws

of the State of Texas and maintains its principle place of business at 1400 Preston Road,

Suite 400, Plano, Texas 75093.

                                     JURISDICTION

       3.     TEN incorporates by reference Paragraphs 1–2 above.

       4.     These counterclaims arise under the patent laws of the United States, Title

35, United States Code. The jurisdiction of this Court is proper under at least 35 U.S.C.

§ 271 et seq., and 28 U.S.C. §§ 1331, 1338, 1367, and 2201–02.

       5.     Symbology has consented to the personal jurisdiction of this Court at least

by commencing its action for patent infringement in this District, as set forth in its First

Amended Complaint.

       6.     Based solely on Symbology’s filing of this action, venue is proper, though

not necessarily convenient, in this District pursuant at least 28 U.S.C. §§ 1391 and 1400.




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                                        COUNT I

               DECLARATION REGARDING NON-INFRINGEMENT

      7.     TEN incorporates by reference Paragraphs 1–6 above.

      8.     Based on Symbology’s filing of this action and at least TEN’s first

affirmative defense, an actual controversy has arisen and now exists between the parties

as to whether TEN infringes the ’752, ’369, ’190, and/or ‘773 Patents (collectively, the

“Asserted Patents”).

      9.     TEN does not infringe any valid claim of the Asserted Patents because,

among other things, the accused system does not: (1) capture a digital image; (2) detect

symbology associated with the digital image; (3) decode the symbology to obtain a

decode string; (4) send the decode string to a remote server for processing; or (5) include

one or more visual detection systems that are configured to run in the background and

detect the symbology associated with the object.

      10.    Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §2201 et seq.,

TEN requests a declaration by the Court that TEN has not infringed and does not infringe

any claim of the Asserted Patents under any theory (including directly (whether

individually or jointly) or indirectly (whether contributorily or by inducement)).

                                       COUNT II

                    DECLARATION REGARDING INVALIDITY

      11.    TEN incorporates by reference Paragraphs 1–10 above.

      12.    Based on Symbology's filing of this action and at least TEN’s Second

Affirmative Defense, an actual controversy has arisen and now exists between the parties

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as to the validity of the claims of the Asserted Patents.

       13.    The asserted claims are anticipated and/or rendered obvious by, inter alia,

BarPoint.com, Neomedia’s Neo Reader, Microsoft’s Smart Tags, Android’s Shop Savvy,

Red Laser, ScanBuy, U.S. Serial No. 60/118,051, U.S. Serial No. 60/187,646, U.S. Serial

No. 60/185,546, U.S. Patent Application 2008/0004978, U.S. Patent No. 6,430,554, and/or

U.S. Patent No. 6,651,053.

       14.    Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §2201 et seq.,

TEN requests a declaration by the Court claims of the Asserted Patents are invalid for

failure to comply with one or more of the requirements of United States Code, Title 35,

including without limitation, 35 U.S.C. §§ 101, 102, 103, and 112, and the rules,

regulations, and laws pertaining thereto.

                                        COUNT III

                DECLARATION REGARDING UNENFORCEABILITY
                      DUE TO INEQUITABLE CONDUCT

       15.    TEN incorporates by reference Paragraphs 1–14 above.

       16.    Based on Symbology's filing of this action and at least TEN’s Third

Affirmative Defense, an actual controversy has arisen and now exists between the parties

as to the enforceability of the claims of the Asserted Patents.

       17.    The named inventor, Leigh Rothschild, had knowledge of material, non-

cumulative prior art regarding the Asserted Patents and, on information and belief,

deliberately withheld the material, non-cumulative prior art from disclosure to the

United States Patent and Trademark Office (“USPTO”) during prosecution of the



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Asserted Patents with the intent to deceive the examiner and the USPTO.

       18.    On information and belief, Reagan Innovations, LLC, assignee of the

Asserted Patents, and/or the representatives associated with the filing and prosecution

of the applications for the Asserted Patents, had knowledge of material, non-cumulative

prior art regarding the Asserted Patents and, on information and belief, deliberately

withheld the material, non-cumulative prior art from disclosure to the USPTO with the

intent to deceive the examiner and the USPTO.

       19.    Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §2201 et seq.,

TEN requests a declaration by the Court that all claims of the Asserted Patents are

unenforceable due to inequitable conduct because one or more of the individuals

referenced above, with the intent to deceive the USPTO, failed to comply with the duty

of candor to the USPTO, as set forth in 37 C.F.R. § 1.56, during prosecution of the

applications that led to the issuance of the Asserted Patents.

       A. Background Facts Relating to Counterclaim of Unenforceability

              1. At the Time of Prosecution, Leigh Rothschild was Aware of Material,
                 Non-Cumulative Prior Art Related to Barcode Symbology, Including
                 His Own BarPoint System and Related Patents.

       20.    On information and belief, due to his long involvement with filing and

prosecuting patent applications, Mr. Rothschild is familiar with policies and practices of

the USPTO and its procedures, including its duty of candor. In particular, according to

his personal LinkedIn page, Mr. Rothschild:

              is an established inventor who to date has been issued more
              then [sic] eighty US patents and has more than 150 patents
              pending worldwide. Mr. Rothschild’s first patent was


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             conceived when he was 17 years of age and granted shortly
             thereafter.

Exhibit A.

       21.   Moreover, Mr. Rothschild has long been familiar with prosecuting patents

in the same field as Symbology’s characterization of the Asserted Patents, which

Symbology alleges relates to barcode symbology, namely “Quick Response Codes (QR

codes).” In an online profile, Mr. Rothschild was quoted as saying:

             I have 60 patents—from computer servers to medical to 3D
             displays. Most of my inventions are related to technology,
             such as the method of tying QR codes to the internet….

Exhibit B.

                    a. The Undisclosed BarPoint System

       22.   Mr. Rothschild’s involvement with barcode technology dates back more

than a decade. On information and belief, in order to make money at alleged inventing,

in the late 1990s and early 2000s, Mr. Rothschild started a few businesses, including

BarPoint.com.

       23.   According to BarPoint.com’s 2001 Annual Report filed with the SEC:

             BarPoint is an online and wireless product information and
             shopping service provider which also develops mobile device
             software applications for consumers and businesses.
             BarPoint's product information and shopping service
             platform utilizes patent pending reverse search technology to
             enable users to search for product information using unique
             product identifiers, including universal product codes,
             known as UPCs or barcode numbers, catalog numbers and
             SKU numbers.

Exhibit C.



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       24.    On information and belief, Mr. Rothschild was deeply involved in the

affairs of BarPoint.com. In addition to being its founder, he served as Chairman of its

Board of Directors from 1998 through 2004. During a portion of that time he also served

as its Chief Executive Officer. See Exhibit A.

       25.    The primary technology that BarPoint.com employed involved scanning a

barcode with a handheld mobile device and transmitting the decoded barcode

information over the Internet in order to search for product information (the

“BarPoint.com system”). According to BarPoint.com’s 1999 Annual Report filed with the

SEC:

              BarPoint has developed and recently launched a comparative
              shopping and consumer information Internet site utilizing
              proprietary reverse search technology that enables consumers
              to search the Internet for product-specific information using
              universal product codes, known as UPCs or barcode
              numbers…. The BarPoint service can be accessed from a
              desktop computer or a wide variety of Internet-enabled
              handheld mobile devices, such as personal digital assistants
              (PDAs), interactive pagers and cell phones. By typing or
              scanning the barcode number that manufacturers attach to
              their products, consumers gain access to a variety of
              information gathered by BarPoint on the specific product….

                     ***

              On December 6, 1999, we launched a preview version of our
              website, www.barpoint.com, which features a patent-
              pending search engine and software technology that allows
              consumers to use the standard UPC barcode number that
              appears on what we believe to be more than 100 million retail
              items to search for product-specific information from and
              shop for products on the Internet.

                     ***

              The BarPoint technology can be accessed via the Internet at

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              www.barpoint.com from desktops or handheld wireless
              devices. It is presently available on a variety of hand-held and
              wireless devices including the Palm VII from 3COM/Palm
              Computing, interactive pagers such as those from Research In
              Motion, and the SPT 1500, a Palm VII with a built-in scanning
              device, manufactured by Symbol Technologies.

                     ***

              The BarPoint service is available through accessing
              www.barpoint.com through which UPC barcode number
              searches can be executed by simply typing or scanning in a
              UPC barcode number.

See Exhibit D.

       26.    The BarPoint system, publicly known, offered for sale, and used around

1999, is substantially similar to the alleged infringing activity of the Asserted Patents as

characterized by Symbology in its First Amended Complaint:

              The invention claimed in the [Asserted Patents] comprises a
              method for enabling a portable electronic device to retrieve
              information about an object when the object’s symbology, is
              detected.

See, e.g., First Amended Complaint at ¶¶ 13, 17, 21, 25.

       27.    As shown in the claim chart attached hereto as Exhibit E, the BarPoint

system anticipates and/or renders obvious each and every element of Claim 1 of the ’752,

‘369, and ‘190 Patents under Symbology’s characterization of the Asserted Patents’ scope,

and thus is material and not cumulative to the information already of record during the

prosecution of the Asserted Patents and related applications.

                     b. The Undisclosed Rothschild Patents

       28.    In addition to his firsthand involvement with BarPoint.com, Mr. Rothschild

was identified as the sole named inventor for at least three provisional applications that

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disclosed the BarPoint.com system, including:

       (a) U.S. Serial no. 60/118,051 (“’051 provisional application”), filed Feb. 1, 1999,
           and entitled “INTERACTIVE METHOD FOR INVESTIGATING PRODUCTS”;

       (b) U.S. Serial No. 60/187,646 (“’646 provisional application”), filed Mar. 8, 2000
           and entitled “INTERACTIVE SYSTEM FOR INVESTIGATING PRODUCTS
           ON A NETWORK THROUGH A MOBILE DEVICE”; and

       (c) U.S. Serial No. 60/185,546 (“’546 provisional application”), filed Feb. 28, 2000
           and entitled “METHOD OF VERIFYING BARCODE/UPC NUMBERS OR
           OTHER SYMBOLOGIES AND LINKING SUCH NUMBERS TO
           INFORMATION ON A GLOBAL COMPUTER NETWORK.”

       29.       On information and belief, the ’051 provisional application became publicly

available, such as through the USPTO’s public PAIR website, more than one year prior

to the September 15, 2010 earliest effective filing date of the Asserted Patents, because

later patent applications published and/or granted claimed priority to them. See Manual

for Patent Examination Procedure (MPEP) 103 (citing 37 CFR 1.14(a)(1)(iv)-(vi)). The ‘051

provisional application is attached hereto as Exhibit F.

       30.       The following disclosures in the ’051 provisional application confirm that

the BarPoint system was offered for sale and publicly used prior to the filing dates of the

‘051 provisional application:

                The ’051 provisional application provides a printout from
                 www.barpoint.com entitled “Advertising Barcode,” dated January 20, 1999,
                 and shows:




                Another printout in the ‘051 provisional application from
                 www.barpoint.com entitled “Advertising Barcode Demo,” dated January
                 20, 1999, shows:



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                Another printout in the ‘051 provisional application from
                 www.barpoint.com entitled “Link to Your Product’s Website,” dated
                 January 20, 1999, shows:




Exhibit F.

       31.       Based on the provisional application’s disclosures and Mr. Rothschild’s

firsthand involvement with BarPoint.com, it was known to Mr. Rothschild, his assignee

Reagan Innovations, LLC, and/or their representatives associated with the filing and

prosecution of the applications for the Asserted Patents, that the BarPoint system


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described in the provisional applications was offered for sale and publicly used prior to

the filing dates of the provisional applications.

       32.    Mr.   Rothschild’s    representatives    subsequently   filed   several    non-

provisional applications that claim priority to the ’051, ’646, and ’546 provisional

applications, including the applications for U.S. Patent No. 6,430,554 (“’554 Patent”),

which issued on August 6, 2002, and U.S. Patent No. 6,651,053 (“’053 Patent”), which

issued on November 18, 2003, each of which names Mr. Rothschild as the sole inventor.

These patents are attached hereto as Exhibits G-H.

       33.    On June 30, 2006, Mr. Rothschild filed U.S. Patent Application

2008/0004978 (“’978 application”) with the USPTO. The ’978 application was published

January 3, 2008 and is attached hereto as Exhibit I.

       34.    The ’978 application disclosed “a system and method … for identifying an

article of commerce, e.g., digital media content, and downloading all or part of content

related to the article of commerce to mobile devices such as portable digital media players

and/or mobile phone devices” over the Internet. Id., Paras. 0007, 0035.           The ’978

application further disclosed capturing a barcode and decoding the barcode in order to

acquire an identification code of the article of commerce:




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Id., Para. 0037.

       35.     The ’051, ’646, and ’546 provisional applications, the ’978 application, and

the ’554 and ’053 Patents (collectively, the “Rothschild Patents”), each anticipates and/or

renders obvious each and every element of Claim 1 of the ‘752, ‘369, and ‘190 Patents

under Symbology’s characterization of the alleged infringing activity, as shown in the

exemplary claim charts for the BarPoint system, the ’978 application, and the ’554 Patent,

attached hereto as Exhibits E, and J-K, and thus the Rothschild Patents prior art is material

and not cumulative to the information already of record during the prosecution of the

Asserted Patents and related applications.

                         c. Other Material Prior Art

       36.     Mr. Rothschild noted in the Asserted Patents’ specification that “[s]ome

applications that may be downloaded to portable electronic devices include symbology

scanning and/or decoding programs [including] Neomedia’s Neo Reader, Microsoft’s

Smart Tags, Android’s Shop Savvy, Red Laser, ScanBuy, etc.” Exhibit L (’752 Patent at

3:29-33).


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       37.    Mr. Rothschild, however, indicated only that these prior art systems

“scan[]” or “decode[],” but notably failed to disclose to the USPTO that these prior art

systems also capture a digital image of a barcode and send decoded information (such as

a URL) to a remote server to retrieve information for display (such as a web page).

       38.    As shown in the claim charts attached as Exhibits M-N, the prior art systems

identified in the specification, but not fully disclosed by Mr. Rothschild, anticipate

and/or render obvious each and every element of Claim 1 of the ‘752, ‘369, and ‘190

Patents under Symbology’s characterization of the alleged infringing activity, and thus

full disclosure of the prior art systems is material and not cumulative to the information

already of record during the prosecution of the Asserted Patents and related applications.

                 2. Leigh Rothschild Deliberately Withheld Material, Non-
                    Cumulative Prior Art References During Prosecution of the
                    Asserted Patents and Related Applications

       39.    Despite Mr. Rothschild having deep knowledge of the Barpoint system, the

Rothschild Patents, and other material, non-cumulative prior art related to technology

Symbology alleges the Asserted Patents cover, Mr. Rothschild, his assignee Reagan

Innovations, LLC, and/or their representatives associated with the filing and prosecution

of the applications for the Asserted Patents did not submit or identify any prior art during

the prosecution of the Asserted Patents and related applications, nor did the prosecuting

attorney(s) submit to the examiner a single Information Disclosure Statement (IDS)

identifying any prior art.

       40.    The BarPoint system, the Rothschild Patents, and the prior art systems

identified in the specification, are each material to patentability of the claims of the

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Asserted Patents and not merely cumulative over the prior art that was before the

examiner.

      41.    Mr. Rothschild, Reagan Innovations, LLC, assignee of the Asserted Patents,

and/or the representatives associated with the filing and prosecution of the applications

for the Asserted Patents, knew of the BarPoint system, the Rothschild Patents, and the

prior art systems identified in the specification, and, on information and belief,

deliberately failed to disclose the prior art to the USPTO in connection with prosecuting

the applications for the Asserted Patents, with the intent to deceive the examiner and the

USPTO.

      42.    Had Mr. Rothschild, his assignee Reagan Innovations, LLC, and/or their

representatives associated with the filing and prosecution of the applications for the

Asserted Patents made the examiner aware of the BarPoint system, the Rothschild

Patents, and that the prior art systems identified in the specification anticipate and/or

render obvious each and every element of the independent claims of the ‘752, ‘369, and

‘190 Patents under Symbology’s characterization of the alleged infringing activity, the

examiner would not have allowed the claims to issue.

                 3. By Withholding Material, Non-Cumulative Prior Art During
                    Prosecution of the Asserted Patents, Leigh Rothschild Intended
                    to Deceive the USPTO

                    a. Leigh Rothschild Lost His Interest in the BarPoint System and
                       Rothschild Patents in Late 2010

      43.    The failure of Mr. Rothschild, his assignee Reagan Innovations, LLC,

and/or their representatives associated with the filing and prosecution of the



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applications for the Asserted Patents to disclose the BarPoint system and the Rothschild

Patents prior art, as well as other material prior art, was with the intent to deceive the

USPTO.

      44.    Mr. Rothschild sought and obtained the Rothschild Patents claiming an

alleged invention by which a customer scans a barcode with a handheld mobile device,

and transmits the decoded barcode information over the Internet in order to retrieve

product information on the mobile device.

      45.    Mr. Rothschild sought monetary gain through the founding of

BarPoint.com by assigning the Rothschild Patents to BarPoint.com in order to

commercialize the alleged inventions of the Rothschild Patents.

      46.    According to SEC filings, BarPoint.com initially was not a commercial

success:

             Revenue from [BarPoint.com’s wireless Internet software]
             business was limited and decreased through 2002. In 2003,
             this business generated no revenue and we began searching
             to acquire another business…. Effective in August 2004 Mr.
             Rothschild resigned as a director of the Company.

Exhibit O (2004 SEC Annual Report, Description of Business).

      47.    On or about April 11, 2005, however, BarPoint.com sold the Rothschild

Patents to NeoMedia Technologies, Inc. in exchange for a cash payment and royalties in

the amount of 10% of licensing proceeds generated by NeoMedia for 10 years. Id.

(Intellectual Property). On information and belief, NeoMedia undertook an enforcement

campaign that generated royalties due under the agreement.

      48.    BarPoint.com’s successor-in-interest subsequently declared bankruptcy,

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and the Rothschild Trust, for which Mr. Rothschild was the managing member,

purportedly purchased the rights to the licensing proceeds generated from the Rothschild

Patents. See Exhibit P (Settlement Agreement).1

       49.       On information and belief, Mr. Rothschild, and/or one or more entities he

controlled, received compensation for licensing proceeds from the enforcement of the

Rothschild Patents. Consequently, Mr. Rothschild remained deeply familiar with the

BarPoint.com system and the Rothschild Patents, including their disclosures and claims.

       50.       Mr. Rothschild’s rights to benefit from the Rothschild Patents ceased in late

2010 when he entered into a settlement agreement with NeoMedia assigning all rights in

the Rothschild Patents to NeoMedia.

                        b. Leigh Rothschild’s Initial Attempt to Reclaim Technology
                           Disclosed in BarPoint System and Other Undisclosed Prior Art
                           Was Rejected.

       51.       On September 15, 2010, Mr. Rothschild filed a patent application that

ultimately issued as U.S. Patent No. 7,992,773 (“’773 Patent”), entitled “SYSTEM AND

METHOD FOR PRESENTING INFORMATION ABOUT AN OBJECT ON A PORTABLE

ELECTRONIC DEVICE,” attached as Exhibit Q. Each of the ‘752, ‘369, and ‘190 Patents is

a continuation of the application that led to the ’773 Patent and thus shares a common

specification.

       52.       With at least one substantial exception, the general subject matter of the ’773



1 Available publicly at:

https://www.sec.gov/Archives/edgar/data/1022701/000114420410066649/v205602_e
x10-1.htm.


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Patent and the ‘752, ‘369, and ‘190 Patents is nearly identical to the BarPoint system and

the Rothschild Patents. For example, the summary of the ’773 Patent states:

              Systems and methods are provided for allowing a user to
              utilize a portable electronic device to retrieve information
              about an object in response to the portable electronic device
              detecting symbology, e.g., a barcode, associated with the
              object.

Exhibit Q at 1:56-60.

       53.    However, the ’773 Patent’s specification notes alleged problems with prior

art barcode scanning applications:

              Some applications that may be downloaded to portable
              electronic devices include symbology scanning and/or
              decoding programs. Examples of applications that allow
              scanning include Neomedia's Neo Reader, Microsoft's Smart
              Tags, Android's Shop Savvy, Red Laser, ScanBuy, etc.
              However, when a user wishes to scan an object, the user must
              then select an application on the portable electronic device
              that is capable of accomplishing the desired functions. Since
              a user may have dozens of applications loaded on his or her
              portable electronic device, it may be difficult to select the
              appropriate application for executing the scanning functions.

See, e.g., id. at 3:20-30 (emphasis added).

       54.    In the specification, Mr. Rothschild thus proposed a solution wherein the

alleged improvement over the prior art barcode scanning applications involves “one or

more visual detection systems [that] are run in the background of the device, where other

programs or systems are given priority with respect to processing steps over the one or

more visual detection systems.” Id. at 11:63-66 (emphasis added). “If a background

application detects decodable symbology… the detected symbology is sent to one or

more pre-selected visual detection applications for decoding and information retrieval.”


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Id. at 12:19-33 (emphasis added).

       55.    Notwithstanding this purported inventive feature, Mr. Rothschild initially

attempted to prosecute independent claim 1 of the patent application that ultimately

issued as the ’773 Patent without this limitation and covering only that which BarPoint

and other prior art barcode scanning applications disclosed.

       56.    At no point during the prosecution of the ’773 Patent or the continuation

applications did Mr. Rothschild disclose to the USPTO the BarPoint system, the

Rothschild Patents, or the full capabilities of the prior art barcode scanning applications

identified in the specification.

       57.    In the December 2010 Non-Final Rejection, the examiner rejected claim 1

under 35 U.S.C. 102(b) as being anticipated by Fitzpatrick et al. (2008/0201310)

(“Fitzpatrick”), which disclosed all of the limitations in the originally-drafted version of

claim 1:




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See Exhibit R (’773 File History, December 27, 2010 Non-Final Rejection at 2-3).

       58.    To overcome the December 2010 rejection, Mr. Rothschild narrowed claim 1

of the ‘773 Patent to include the purportedly novel feature identified in the specification:




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See Exhibit S (’773 File History, January 13, 2011 Claim Amendment).

       59.    In the March 2011 Notice of Allowance, the examiner expressly noted that

the prior art taught:

       (a) detecting a symbology associated with an object;

       (b) decoding the symbology to obtain a decode string;

       (c) sending the decode string to a remote server for processing;

       (d) receiving information from the server; and

       (e) displaying the information on a display device.

See Exhibit T (’773 File History, March 28, 2011 Notice of Allowance at 2-3).


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        60.   In the March 2011 Notice of Allowance, the examiner confirmed that the

purported “novelty” of the invention as allowed in claim 1 of the ‘773 Patent was the

visual detection systems that run in the background and detect the symbology associated

with an object:




Id. at 3.

        61.   As a result of the patentee’s amendment to claim 1, every independent

claim of the ’773 Patent includes the limitation in which a “background” visual detection

system “automatically” decodes “symbology” and sends the decode string to another

“visual detection application” residing on the portable device.

                    c. Mr. Rothschild Intentionally Omitted the Limitations Found in
                       Claim 1 of the ’773 Patent During Prosecution of the ‘752, ‘369,
                       and ‘190 Patents in Order to Recapture the Scope of the
                       BarPoint.com System He No Longer Controlled

        62.   Despite the purported novelty identified in the specification and by the

examiner during prosecution of the parent application, Mr. Rothschild, his assignee

Reagan Innovations, LLC, and/or their representatives associated with the filing and

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prosecution of the applications for the ‘752, ‘369, and ‘190 Patents, undertook a concerted

effort to omit the limitation related to the alleged improvement that had been expressly

included in claim 1 of the ‘773 Patent in order to overcome the examiner’s rejection based

on anticipation grounds.

       63.    Unlike claim 1 of the ’773 Patent, the independent claims of the ’752, ‘369,

and ‘190 Patents do not include the limitation that requires a “background” system that

“decod[es] the symbology to obtain a decode string” and “send[s]the decode string to

one or more visual detection applications for processing.”

       64.    On information and belief, Mr. Rothschild’s goal during prosecution of the

Asserted Patents was to broaden the independent claims in the continuation applications

to recapture the scope of the invention related to the BarPoint system that he had assigned

to NeoMedia and for which, as of 2010, he no longer had rights to exploit. Mr. Rothschild

would not have been able to achieve this goal if he disclosed the BarPoint system, the

Rothschild Patents, and the full capabilities of the prior art barcode scanning applications

identified in the specification, to the examiner during the Asserted Patents’ prosecution

before the USPTO.

       65.    Had Mr. Rothschild, his assignee Reagan Innovations, LLC, or their

representatives associated with the filing and prosecution of the applications for the

Asserted Patents made the examiner aware of the undisclosed, material, non-cumulative

prior art in Mr. Rothschild’s possession, the examiner would not have allowed the

independent claims of the ’752, ’369, and ’190 Patents to issue.

       66.    Mr. Rothschild, his assignee Reagan Innovations, LLC, and/or their

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representatives associated with the filing and prosecution of the applications for the

Asserted Patents intended to deceive the USPTO by intentionally failing to disclose the

BarPoint system, the Rothschild Patents, and the full capabilities of the prior art barcode

scanning applications identified in the specification, in order to recapture patent rights to

subject matter Mr. Rothschild no longer controlled.

                                  PRAYER FOR RELIEF

       WHEREFORE, TEN asks this Court to enter judgment in TEN’s favor and against

Symbology by granting the following relief:

       a)     a declaration that the Asserted Patents are invalid;

       b)     a declaration that TEN does not infringe, under any theory, any valid claim

of the Asserted Patents that may be enforceable;

       c)     a declaration that the Asserted Patents are unenforceable;

       d)     a declaration that Symbology take nothing by its First Amended Complaint;

       e)     judgment against Symbology and in favor of TEN;

       f)     dismissal of the First Amended Complaint with prejudice;

       g)     a finding that this case is an exceptional case under 35 U.S.C. § 285 and an

award to TEN of its costs and attorneys’ fees incurred in this action; and

       h)     further relief as the Court may deem just and proper.

                                     JURY DEMAND

       TEN hereby demands trial by jury on all issues.




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Dated: April 24, 2017                          Respectfully submitted,

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                                               COUNSEL FOR DEFENDANT
                                               TEN: THE ENTHUSIAST NETWORK
                                               MAGAZINES, LLC



                               CERTIFICATE OF SERVICE

   The undersigned hereby certifies that a true and correct copy of the above and foregoing

document has been served on April 24, 2017, to all counsel of record who are deemed to have

consented to electronic service via the Court’s CM/ECF system per Local Rule CV-5(a)(3).



                                               /s/ Ricardo J. Bonilla
                                               Ricardo J. Bonilla




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